UNITED STATES SECURITIES AND
EXCHANGE COMMISSION
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               )                Case No. 22-10964 (MG)
                                                     )
CELSIUS NETWORK LLC, et al.1                         )                Chapter 11
                                                     )                (Jointly Administered)
                          Debtors.                   )
                                                     )

           RESERVATION OF RIGHTS OF THE U.S. SECURITIES AND
       EXCHANGE COMMISSION TO DEBTORS’ MOTION FOR ENTRY OF AN
      ORDER APPROVING DISCLOSURE STATEMENT AND RELATED RELIEF

         The U.S. Securities and Exchange Commission (“SEC”) files this reservation of rights

with respect to the Debtors’ Motion For Entry Of An Order (I) Approving the Adequacy of the

Debtors’ Disclosure Statement, (II) Approving The Solicitation And Voting Procedures With

Respect To Confirmation Of The Debtors’ Joint Plan of Reorganization, (III) Approving The

Form Of Ballots And Notices In Connection Therewith, (IV) Scheduling Certain Dates With

Respect Thereto, (V) Authorizing And Approving Reimbursement Of Certain Of The Plan


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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
Mining LLC (1387); Celsius Network Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending LLC
(3390); Celsius US Holding LLC (7956); GK8 Ltd. (1209); GK8 UK Limited (0893); and GK8 USA LLC (9450).
The location of Debtor Celsius Network LLC’s principal place of business and the Debtors’ service address in these
chapter 11 cases is 50 Harrison Street, Suite 209F, Hoboken, New Jersey 07030.


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Sponsor’s Fees and Expenses, And (VI) Granting Related Relief (the “Disclosure Statement

Motion”) [Docket No. 2970].2

                                                BACKGROUND

         1.       The SEC is the federal agency responsible for regulating the U.S. securities

markets, protecting investors, and enforcing the federal securities laws. On July 13, 2023, the

SEC filed a complaint against Debtor Celsius Network Limited and its former CEO, Alexander

Mashinsky in the U.S. District Court for the Southern District of New York, Case No. 1:23-cv-

06005, alleging that the defendants raised billions of dollars from investors through the

unregistered and fraudulent sales of crypto asset securities.3

         2.       On June 15, 2023, the Debtors filed the Joint Chapter 11 Plan of Celsius Network

LLC and Its Debtors Affiliates [Docket No. 2807] (as amended, the “Plan”).

         3.       On June 27, 2023, the Debtors filed the Disclosure Statement [Docket No. 2902]

(as amended, the “Disclosure Statement”) for the Plan.

         4.       The Plan defines Illiquid Recovery Rights as “in the event of an Orderly Wind

Down, the Claims of any creditor that would have received NewCo Common Stock had the

NewCo Transaction been consummated, which Claims shall remain outstanding after the


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  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Disclosure Statement
Motion.
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  At a hearing held on June 28, 2023, this Court invited regulators to weigh in on whether the CEL token is or is not
a security. The SEC’s complaint in the District Court action alleges, among other things, that the Defendants
“fraudulently manipulated the price of Celsius’s own crypto asset security—the so-called ‘CEL’ token.” SEC v.
Celsius Network Ltd., No. 1:23-cv-06005 (Bankr. S.D.N.Y.). Objectors have cited to the recent decision in SEC v.
Ripple Labs Inc., to support their position that CEL tokens are not securities. No. 1:20-cv-10832 AT, 2023 WL
4507900 (S.D.N.Y. July 13, 2023). The SEC respectfully avers that certain portions of Ripple conflict with decades
of longstanding law. SEC’s Resp. to Supp. Auth. in Support of Defs.’ Mot. to Dismiss, SEC v. Terraform Labs Pte.
Ltd, No. 1:23-cv-01346 JSR (July 21, 2023) [ECF No. 49]. In SEC v. Terraform Labs Pte. Ltd., issued on July 31,
2023, Judge Rakoff rejected the portion of Ripple relied upon by objectors, found that the SEC alleged facts
sufficient to claim that the defendants’ crypto assets are securities, and declined to draw a distinction between tokens
based on their manner of sale. No. 1:23-cv-01346 JSR, 2023 WL 4858299, *15 (S.D.N.Y. July 31, 2023).




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Effective Date for purposes of preserving such Holders’ rights to recoveries on the Debtors’

illiquid assets, which may be (but are not required to be) tokenized.” Plan, at 11.

       5.      The Plan further provides that if the Debtors elect to pursue an Orderly Wind

Down, the Debtors will file a Wind Down Motion and provide parties in interest with 10 days to

object. Plan, at 44.

                                  RESERVATION OF RIGHTS

       6.      The SEC staff has communicated its concerns about the possible tokenization of

Illiquid Recovery Rights to Debtors’ counsel, who have cooperated with the staff in addressing

other concerns regarding the Disclosure Statement and Plan. The SEC reserves the right to

object to confirmation of the Plan or to any Wind Down Motion filed in these cases, including

the issuance of any “tokenized” Illiquid Recovery Rights or on any other bases. The SEC is not

opining as to the legality, under the federal securities laws, of the transactions outlined in the

Plan, and reserves its rights to challenge transactions involving crypto assets.




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Dated: Washington, DC
       August 3, 2023

                                UNITED STATES SECURITIES AND
                                EXCHANGE COMMISSION

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Of Counsel: Alistaire Bambach




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of August, 2023, a true and correct copy of the

foregoing Reservation of Rights was furnished to all ECF Participants via the CM/ECF system.

                                          /s/ Therese A. Scheuer
                                          Therese A. Scheuer (admitted pro hac vice)




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